          Case 1:22-cv-00983-VEC Document 142 Filed 03/21/23 Page 1 of 1




March 21, 2023

BY ECF

Hon. Sarah Netburn, United States Magistrate Judge
United States District Court for the Southern District of New York
40 Foley Square, Room 219
New York, New York 10007
                    Nike, Inc. v. StockX LLC, No. 22 CV 983 (VC) (SN)

Dear Judge Netburn:

         We represent Defendant StockX LLC (“StockX”) in the above-captioned matter.

         Pursuant to Your Honor’s Individual Rule III(F), StockX respectfully submits this
letter regarding the sealed treatment of StockX’s Letter Motion (the “Letter”), which is
being filed under seal and on the public docket in redacted form today.

        The Letter provides an overview of pending discovery disputes ripe for Court
resolution. In support of why Nike, Inc. (“Nike,” and together with StockX, the “Parties”)
should be compelled to respond, or supplement its responses, to StockX’s requests for
production and to supplement inadequate 30(b)(6) testimony on relevant topics, StockX’s
Letter references material that the Parties have designated confidential pursuant to the
Parties’ July 14, 2022, Stipulated Protective Order (ECF No. 52). StockX is accordingly
filing portions of its Letter under seal pursuant to Paragraph 14 of the Protective Order, to
permit Nike the opportunity to propose, and the Court to approve, appropriate redactions for
material in the Letter that is covered by Nike’s claim of confidentiality.

Respectfully submitted,

/s/ Megan K. Bannigan
Megan K. Bannigan

cc          All counsel of record (via ECF)




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